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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7     SCOTT ROSE, et al.,
                                                                                       Case No. 09-cv-5966-PJH
                                  8                   Plaintiffs,

                                  9              v.                                    ORDER RE SUPPLEMENTAL
                                                                                       BRIEFING
                                  10    STEPHENS INSTITUTE,
                                  11                  Defendant.

                                  12
Northern District of California
 United States District Court




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                                  14          Based on the arguments presented at the hearing on defendant’s motion for

                                  15   summary judgment, the court directs the parties to file supplemental briefs regarding two

                                  16   issues.

                                  17          First, defendant is directed to file a supplemental brief, not to exceed ten pages,

                                  18   on the issue of the “public disclosure bar” and whether it implicates this court’s subject

                                  19   matter jurisdiction over the case. Defendant should also present facts that explain why

                                  20   this argument was not included in its motion for summary judgment. Defendant’s brief

                                  21   must be filed by March 16, 2016, and plaintiffs shall have until March 23, 2016 to file a

                                  22   response, which shall not exceed ten pages.
                                              Second, plaintiff is directed to file a supplemental brief regarding the meaningful
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                                       difference (if any) between the two asserted causes of action. The first cause of action is
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                                       brought under 31 U.S.C. § 3729(a)(1)(A), which applies to anyone who “knowingly
                                  25
                                       presents, or causes to be presented, a false or fraudulent claim for payment or approval.”
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                                       The second cause of action, brought under 31 U.S.C. § 3729(a)(1)(B) covers anyone
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                                       who “knowingly makes, uses, or causes to be made or used, a false record or statement
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                                          Case 4:09-cv-05966-PJH Document 170 Filed 03/09/16 Page 2 of 2




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Northern District of California
 United States District Court




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